                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


DINA CAPITANI,                         )
                                       )
      Plaintiff,                       ) Case No. 3:16-0740
                                       )
v.                                     ) Judge Crenshaw/Frensley
                                       )
GEOFFREY ROEBUCK and                   )
CATHY ROEBUCK,                         ) JURY DEMAND
                                       )
      Defendants.                      )
______________________________________________________________________________

                         NOTICE OF CHANGE OF ADDRESS
______________________________________________________________________________

        Come Plaintiff’s counsel, and give notice that the new address for her attorneys of record

is:

               Autumn L. Gentry
               R. Cameron Caldwell
               Dickinson Wright PLLC
               424 Church Street, Suite 800
               Nashville, Tennessee 37219

        The telephone number, fax number, and e-mail address will remain the same.

Dated: September 8, 2017

                                                    DICKINSON WRIGHT PLLC

                                                    By: /s/ Autumn L. Gentry
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                                                         R. Cameron Caldwell, #29084
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                                                    Attorneys for Plaintiff Dina Capitani




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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing has been served, via email to
the following:

               Geoffrey Roebuck
               geoffreyroebuck@yahoo.com

               Cathy Roebuck
               geoffreyroebuck@yahoo.com

Dated: September 8, 2017.

                                                             /s/ Autumn L. Gentry
                                                             Autumn L. Gentry
NASHVILLE 99997-1358 614210v1




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